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                         THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,                    CRIMINAL NO. 05-80725

      v.                                             HONORABLE AVERN COHN

ANCO-TECH, INC.,
ANDREW MALISZEWSKI, and
ALAN MALISZEWSKI,

                  Defendants.
______________________________/

                                           ORDER

       On Friday, October 14, 2005 the Court held an un-recorded telephone conference with

the parties regarding the Government’s motion to have the case declared complex, for a special

trial listing and for a finding of excludable delay. During the telephone conference the parties

stipulated to a continuance of the trial date. The Court being fully advised in the premises,

       T IS HEREBY ORDERED, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(i)

and 3161(h)(8)(B)(ii) that the government’s motion is GRANTED.

       IT IS FURTHER ORDERED that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial and that the time from

September 20, 2005 to January 30, 2006 shall constitute excludable delay pursuant to 18 U.S.C.

§§ 3161(h)(8)(B)(i) & (ii). A jury trial is scheduled for Monday, January 30, 2006 at 9:00 a.m.

       SO ORDERED.


Dated: October 17, 2005                       s/ Avern Cohn
                                              United States District Judge
